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From: Ryan Shaffer <ryan@ mss-lawfirm.com>

Sent: Monday, July 31, 2023 12:57 PM

To: Brett Jensen <Bjensen@ brownfirm.com>; ‘Christopher Sweeney'

<Christopher. Sweeney@moultonbellingham.com>; Jon Wilson <jwilson@ brownfirm.com>
Subject: RE: Caekaert et al. v. WTNY et al. Conference Call RE Rule 35 issues .

Hopping on now.

From: Brett Jensen <Blensen@brownfirm.com>

Sent: Monday, July 31, 2023 11:10 AM

To: Ryan Shaffer; 'Christopher Sweeney’; Jon Wilson

Subject: Caekaert et al. v. WTNY et al. Conference Cail RE Rule 35 issues

When: Monday, July 31, 2023 1:00 PM-2:00 PM (UTC-07:00) Mountain Time (US & Canada).
Where: Phone: 480-302-6988 Passcode 203602

EXHIBIT

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